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VALVE CORPORATION V. ROTHSCHILD ET AL
Case # 2:23−cv−01016−JNW

The court has received your case documents and has identified the following items to be addressed.
Please note: Any underlined points of reference below will contain a link to the source materials.

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